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 1   Frank E. Scherkenbach (SBN 142549)
     scherkenbach@fr.com
 2   Kurt L. Glitzenstein (pro hac vice)
     glitzenstein@fr.com
 3   FISH & RICHARDSON P.C.
     One Marina Park Drive
 4   Boston, MA 02210
     Telephone: (617) 542-5070
 5   Facsimile: (617) 542-8906

 6   Attorneys for Defendant
     MICROSOFT CORPORATION
 7
     Additional counsel listed on signature page
 8
 9                                  UNITED STATES DISTRICT COURT

10                              NORTHERN DISTRICT OF CALIFORNIA

11                                       (SAN JOSE DIVISION)

12

13   SENTIUS INTERNATIONAL, LLC,                    Case No. 5:13-cv-00825 PSG

14                     Plaintiff,                   DEFENDANT MICROSOFT
                                                    CORPORATION’S REPLY IN
15          v.                                      SUPPORT OF ITS DAUBERT
                                                    MOTION TO EXCLUDE
16   MICROSOFT CORPORATION,                         TESTIMONY OF SENTIUS’
                                                    DAMAGES EXPERT, ROBERT
17                      Defendant.                  MILLS

18
                                                    DATE: January 13, 2015
19   AND RELATED COUNTERCLAIMS                      TIME: 10:00 a.m.
                                                    JUDGE: Hon. Paul S. Grewal
20

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                 REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
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                                                   DEFENDANT MICROSOFT CORPORATION’S REPLY IN SUPPORT
28                                                      OF ITS DAUBERT MOTION TO EXCLUDE TESTIMONY OF
                                                                 SENTIUS’ DAMAGES EXPERT, ROBERT MILLS
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 1   I.      INTRODUCTION

 2           Faced with the arguments and law in Microsoft’s opening brief, Sentius now seeks to

 3   retool its damages case entirely. Sentius’ original damages theory relied heavily on a JMOL

 4   decision assessing the sufficiency of the evidence presented at a trial involving a different patent

 5   owned by a different party and different accused functionality. Sentius now asserts that Mr. Mills

 6   only relied on the Lucent JMOL decision for “a limited purpose,” and instead relied primarily on

 7   the amount that Microsoft and Lucent subsequently agreed to in settlement of their long-running

 8   dispute. Even if that were true, a damages theory based on the Lucent settlement would be

 9   excludable as entirely cursory, given the scant consideration that Mr. Mills gave to that settlement

10   in his report, as well as for the reasons set out in Microsoft’s opening brief. But the record—

11   including both Mr. Mills’ report and his deposition—clearly belies Sentius’ core contention in its

12   opposition: Mr. Mills’ analysis started and ended with the Lucent JMOL decision. The lack of

13   any authority showing that a JMOL decision in a different case would have been considered by the

14   parties to the hypothetical negotiation for a license of the Sentius patents, as well as the obvious

15   prejudice to Microsoft of the jury in this case hearing about infringement and damages findings in

16   another case, warrants exclusion of that analysis, and that damages theory.

17           As to Mr. Mills’ “income approach,” notwithstanding Sentius’ insistence now to the

18   contrary, the record also shows that that was never more than a check or derivative theory of his

19   Lucent-based theory. Even if, as Sentius now contends, that theory were truly independent of Mr.

20   Mills’ primary theory, it fails Daubert on numerous levels, including the arbitrariness of Mr.

21   Mills’ unfounded conclusion that Sentius and Microsoft would have agreed to a 22/78 profit split,

22   and the fact that this theory is, at bottom, a disguised and improper entire market value rule theory.

23   II.     ARGUMENT

24           A.     Sentius Has Not Identified Any Authority to Support the Propriety of Mr.
                    Mills Basing His Primary Damages Theory on the Lucent JMOL, or Explained
25                  Why Relying On That Decision Would Not Be Unfairly Prejudicial

26           The centerpiece of Mr. Mills’ primary damages theory is the Lucent JMOL decision.

27   Sentius in its opposition fails even to address, let alone rebut, Microsoft’s argument that the use of
                                                  1      DEFENDANT MICROSOFT CORPORATION’S REPLY IN SUPPORT
28                                                            OF ITS DAUBERT MOTION TO EXCLUDE TESTIMONY OF
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 1   this decision, or the Arendi settlement agreement, would plainly be unfairly prejudicial to

 2   Microsoft, thus warranting exclusion under Fed. R. Evid. 403.1

 3          Sentius in its opposition also fails to identify any authority—legal, academic, commercial

 4   best practices, or otherwise—that even suggests that a JMOL decision assessing the sufficiency of

 5   the damages evidence in another case has any probative value on what the parties in a different

 6   case would have accepted in the hypothetical negotiation. As the party proffering the Mills

 7   damages analysis, Sentius was obligated to show that it is reliably based on generally acceptable

 8   principles. Daubert v. Merrell Dow Pharms., Inc., 509 U.S. 579, 592 n.10. (1993). While it is not

 9   Microsoft’s burden to show that Mr. Mills’ reliance on that JMOL decision was inappropriate,

10   Sentius is incorrect when it asserts repeatedly that Microsoft has failed to do so. (D.I. 148 at 2, 7;

11   “Even assuming that Mr. Mills relied on Judge Hoff’s [sic] decision for more than a limited

12   purpose (which he did not), Microsoft does not identify any reason why that would be

13   inappropriate.”) Judge Huff in her order was not “looking at the exact same question that Mr.

14   Mills needs to answer about the outcome of a hypothetical negotiation,” as Sentius contends. (Id.)

15   She did not conduct a de novo assessment of the hypothetical negotiation, but rather considered

16   the sufficiency of the evidence proffered by Lucent at trial to support the jury’s $70 million

17   damages award in that very different case. Those two things are far from “the exact same

18   question.”
19

20

21   1
       As explained in Microsoft’s opening brief, neither the Lucent JMOL decision (nor the Microsoft-
     Lucent settlement agreement to the extent Sentius now claims to rely on it) nor the Microsoft-
22   Arendi settlement agreement, is comparable to the patents asserted in this case. (D.I. 131-4 at
     pages 13-16). At the root of Sentius’ opposition is the premise that it is entitled to rely on
23   whatever license it contends is “closest” to the patents in this case. (D.I. 148 at page 8) (“Notably,
     Microsoft does not identify any other license that it claims is more reliable and in fact has
24   consistently denied that there are any comparable licenses.”) (emphasis in the original). Sentius
     cites no authority to support that point, and the law is of course to the contrary. See, e.g., In re
25   MSTG, Inc., 675 F.3d 1337, 1348 (Fed. Cir. 2012) (“Our cases appropriately recognize that
     settlement agreements can be pertinent to the issue of reasonable royalties.”) (emphasis added).
26   The cases cited by Sentius, such as Dynetix Design Solutions, Inc. v. Synopsys, Inc., No. C 11-
     5973-PSG, 2013 WL 4537838, at *3, 7 (N.D. Cal. Aug. 22, 2013), concern a patent owner’s
27   previous settlement agreement involving the same patent, and not a settlement agreement of the
     accused infringer’s concerning a different patent or a JMOL decision involving the accused
28   infringer.
                                                   2      DEFENDANT MICROSOFT CORPORATION’S REPLY IN SUPPORT
                                                                OF ITS DAUBERT MOTION TO EXCLUDE TESTIMONY OF
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 1   step in that methodology must reliably conform to generally accepted practices and principles in

 2   the relevant field. Daubert, 509 U.S. at 592. That is not the case with Mr. Mills’ analysis.

 3
             B.     Mr. Mills Improperly Converts Lump Sum Values in the Lucent JMOL
 4                  Decision and the Arendi Agreement into Running Royalties.
 5           On this issue as well, Sentius fails to confront the substance of Microsoft’s argument, and

 6   fails also to address the myriad authorities Microsoft cites in support. As explained in Microsoft’s

 7   opening brief, for a lump-sum license agreement to be admissible evidence in support of a

 8   running-royalty damages theory (assuming all other evidentiary thresholds are satisfied), there

 9   must be some foundational evidence showing that the lump-sum was in fact the product of

10   running-royalty considerations. (D.I. 131-4 at 11-12). See Lucent Techs., Inc. v. Gateway, Inc.,

11   580 F.3d 1301 (Fed. Cir. 2009) (“some basis . . . must exist” for comparing a lump-sum agreement

12   to a running royalty agreement); Wordtech Sys., Inc. v. Integrated Networks Solutions, Inc., 609

13   F.3d 1308, 1320 (Fed. Cir. 2010) (there must be some basis for comparing one license to another,

14   such as “how the parties calculated each lump sum, the licensees’ intended products, or how many

15   products each licensee expected to produce.”).

16           It is not sufficient, as Sentius contends, to simply “do the math” by dividing a lump-sum

17   settlement figure by the relevant number of units. (D.I. 148 at 12.). As Judge Huff explained in

18   the Lucent JMOL decision, there are critical and fundamental differences between running-royalty
19   agreements and lump-sum agreements, and very different commercial considerations underpinning

20   each. Lucent Techs., Inc. v. Microsoft Corp., No. 07-cv-2000 H (CAB), slip op. at 5-6 (S.D. Cal.

21   Nov. 10, 2011.) Without showing that a lump-sum figure was in fact the product of an underlying

22   reasonable royalty analysis, there is no basis to “convert” the former to the latter, as Mr. Mills has

23   done.

24           Moreover, there is no need here to guess or speculate as to what led to the royalty structure

25   in the Lucent case. Lucent only presented a lump-sum theory, and Judge Huff expressly stated

26   that the sum in the Lucent JMOL decision was based on a lump-sum value, not a running royalty.
27

28   the overall lack of comparability of the subject matter of that case to the subject matter of this
                                                  6      DEFENDANT MICROSOFT CORPORATION’S REPLY IN SUPPORT
                                                               OF ITS DAUBERT MOTION TO EXCLUDE TESTIMONY OF
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 1   from the Lucent JMOL decision. As such, the “income approach” is wholly derivative of Mr.

 2   Mills’ primary theory, and if that theory is stricken, so too should this check theory.

 3          In any event, there is no reliable methodology to support two of the critical steps taken by

 4   Mr. Mills in his income approach, both of which concern the “profit split” that Microsoft and

 5   Sentius allegedly would have agreed to. Sentius in its opposition represents that “[a]fter analyzing

 6   the relative bargaining positions of the parties, Mr. Mills determined that a 50/50 split of this

 7   amount would be reasonable,” citing to pages 105-08 of Mr. Mills’ report. (D.I. 148 at 19.) Mr.

 8   Mills made no such “determination.” He instead concluded that “[i]f Microsoft and Sentius were

 9   negotiating over the at-risk profit, Sentius would be in a position to negotiate for more than 22

10   percent and perhaps as much as 50 percent of the at-risk profit.” Expert Report of Robert Mills,

11   September 8, 2014, at para. 181 (emphasis added).

12          Even if Mr. Mills had “determined that a 50/50 split of this amount would be reasonable,”

13   such a “determination” was in substance nothing more than an invocation of the Nash Bargaining

14   Solution, the unprincipled use of which has been rejected by the Federal Circuit. See, e.g.,

15   Virnetx, Inc. v. Cisco Systems, Inc., 767 F.3d 1308, 1332-33 (Fed. Cir. 2014) (“For the reasons

16   that follow, we agree with the courts that have rejected invocations of the Nash theorem without

17   sufficiently establishing that the premises of the theorem actually apply to the facts of the case at

18   hand. The use here was just such an inappropriate ‘rule of thumb.’” “Anyone seeking to invoke the
19   theorem as applicable to a particular situation must establish that fit, because the 50/50 profit-split

20   result is proven by the theorem only on those premises.”). As explained in Microsoft’s opening

21   brief, the litany of factors recited in Mr. Mills report regarding the relative bargaining positions of

22   Microsoft and Sentius are merely generic qualitative considerations, and do not support any

23   quantitative value, let alone the conclusion that Microsoft would have agreed to pay Sentius a half-

24   billion dollars for a license—which is the consequence of a 50/50 split of the profits Microsoft

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                                                   8      DEFENDANT MICROSOFT CORPORATION’S REPLY IN SUPPORT
                                                               OF ITS DAUBERT MOTION TO EXCLUDE TESTIMONY OF
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 1           Q. In reaching your opinions in this matter, did you apply the entire market value rule, and
             if so, how?
 2
             A. No, I did not.
 3
             Q. Why not?
 4
             A. Because I didn't have -- I mean it didn't even occur to me to apply the entire market
 5           value rule in this case because the products here are multi-feature products that -- and I
             can't -- I don't have any evidence that all of the sales of these products are driven by the
 6           patented functionality.

 7   Lamberson Decl., Ex. AN (Mills Depo. Tr.) at 222:21-223:6. See also Expert Report of Robert
 8   Mills, September 8, 2014, at para. 50 (“I further note that my reasonable royalty calculations are
 9   not based on a showing that the ‘entire market value’ of Microsoft’s products is attributable to the
10   patents-in-suit.”).
11            It is true that Mr. Mills masks what he is doing by “spreading” the royalty amount over
12   the entire sales base to arrive at a per-unit royalty. But in substance, that is nothing more than
13   seeking to collect a royalty based on the entire market value of the accused products for the 11.2%
14   of respondents who said they would not have purchased the products without the accused
15   functionalities, and applying a zero percent royalty rate to the remaining 88.8% of the respondents.
16   That does not change that the bottom line royalty calculation is improperly based on the entire
17   market value of the accused products.
18
             D.      Mr. Mills Did Not Account for the Fact That Damages Do Not Accrue for
19                   Method Claims Unless and Until Those Claims Are Practiced
20           Mr. Mills makes no effort to determine or quantify the extent to which accused features in
21   the accused applications are ever used—he simply assumes all accused features are used in all
22   accused application for all users. This is improper. “The damages award ought to be correlated,
23   in some respect, to the extent the infringing method is used by consumers.” Lucent, 580 F.3d at
24   1334. See also Cardiac Pacemakers, Inc. v. St. Jude Medical, Inc., 418 F. Supp. 2d 1021 (S.D.
25   Ind. 2006), aff’d 576 F.3d 1348, 1358-59 (Fed. Cir. 2009) (“Absent proof that St. Jude’s devices
26   were programmed for and actually executed the claimed method, CPI may not recover damages
27   for the sales of devices merely capable of infringing.”).
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                                                 11       DEFENDANT MICROSOFT CORPORATION’S REPLY IN SUPPORT
                                                               OF ITS DAUBERT MOTION TO EXCLUDE TESTIMONY OF
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 1            To justify Mr. Mills’ failure to do so, Sentius cites to Emblaze Ltd. v. Apple Inc., No. 5:11-

 2   CV-01079-PSG, 2014 WL 2889764 (N.D. Cal. June 25, 2014), and Chiuminatta Concrete

 3   Concepts, Inc. v. Cardinal Indusies., Inc., 1 Fed. Appx. 879, 884 (Fed. Cir. 2001). Referring to

 4   Emblaze, Sentius quotes “[The alleged infringer] does not cite to a single case suggesting that the

 5   royalty base of a hypothetical negotiation must be limited to units deemed to directly infringe.”

 6   (D.I. 148 at page 20) (emphasis added). This is not the issue. Whether infringement is direct or

 7   indirect, Sentius cannot collect damages for infringement of its asserted claims, all of which are

 8   method claims, without showing the extent to which those methods have in fact been performed.

 9
              E.     Microsoft’s Profits Are Not Relevant, and Would Serve Only to Distort the
10                   Jury’s Damages Perspective
11            Microsoft’s and Office’s profitability are unnecessary for Mr. Mills’ Lucent or Arendi

12   damages theories, which are based on amounts from a JMOL decision and settlement agreement,

13   respectively. Nor are they relevant to his income approach theory because, as explained above,

14   Mr. Mills has not shown or claimed that the accused features drive demand for Office sales

15   specifically or Microsoft’s sales generally.

16            Further, use of Microsoft’s and Office’s profitability and revenue would unfairly bias the

17   jury against Microsoft, and desensitize them to the huge sums—in absolute terms—that Sentius is

18   seeking. See Uniloc, 632 F.3d at 1320 (“The disclosure that a company has made $19 billion
19   dollars in revenue from an infringing product cannot help but skew the damages horizon for the

20   jury, regardless of the contribution of the patented component to this revenue.”). These factors

21   alone warrant barring Mr. Mills from using Microsoft’s and Office’s profitability and revenue in

22   support of any opinions he is permitted to offer to the jury.

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                                                  12      DEFENDANT MICROSOFT CORPORATION’S REPLY IN SUPPORT
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 1   III.     CONCLUSION
 2            For the reasons above and in its opening brief, Microsoft respectfully requests that the

 3   Mills Report be excluded.

 4

 5   Dated: January 5, 2015                                 FISH & RICHARDSON P.C.

 6                                                      By: s/ Jonathan J. Lamberson
                                                            Jonathan J. Lamberson
 7

 8                                                      Attorneys for Defendant
                                                        MICROSOFT CORPORATION
 9

10   Additional Counsel
11   Jonathan J. Lamberson (SBN 239107)
     lamberson@fr.com
12   FISH & RICHARDSON P.C.
     500 Arguello Street, Suite 500
13   Redwood City, CA 94063
     Telephone: (650) 839-5070
14   Facsimile: (650) 839-5071
15   Isabella Fu (SBN 154677)
     Isabella.fu@microsoft.com
16   MICROSOFT CORPORATION
     One Microsoft Way
17   Redmond, WA 98052
     Telephone: (425) 882-8080
18   Facsimile: (425) 936-7329
19   50972617.doc


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                                                 13       DEFENDANT MICROSOFT CORPORATION’S REPLY IN SUPPORT
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